
92 N.Y.2d 917 (1998)
Robert L. Schulz et al., Appellants,
v.
New York State Legislature et al., Respondents. City of New York et al., Intervenors-Respondents.
Court of Appeals of the State of New York.
Submitted August 31, 1998
Decided September 22, 1998.
Concur: Chief Judge KAYE and Judges BELLACOSA, SMITH, LEVINE, CIPARICK and WESLEY.
Chief Judge KAYE and Judges BELLACOSA, LEVINE and CIPARICK each respectively denies the referred motion for disqualification.
Motion to disqualify Chief Judge Kaye and Judges Bellacosa, Levine and Ciparick dismissed upon the ground that the Court of Appeals has no authority to entertain the motion made on nonstatutory grounds. The application seeking recusal is referred to the Judges for individual consideration and determination by each Judge (see, Matter of Sims, 62 N.Y.2d 884; New York Criminal &amp; Civ. Cts. Bar Assn. v State of New York, 46 N.Y.2d 730; Matter of Waltemade, 37 NY2d [a], [ll]).
On the Court's own motion, appeal dismissed, without costs, upon the ground that no substantial constitutional question is directly involved.
